      UNITED STATES DISTRICT COURT EASTERN DISTRICT OF TENNESSEE

STATE FARM FIRE AND CASUALTY COMPANY,

       Plaintiff,

v.                                                                  No.:   3:09-CV-368

 DAVID JONES, G & A TRUCKING, INC.,
 DENNIS MYERS and SUZANNE MYERS,

       Defendants.

            NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
       Comes Plaintiff, pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure and

gives notice that this action is voluntarily dismissed without prejudice. Plaintiff would show

that Defendants have not appeared and no responsive pleadings have been filed.

       Respectfully submitted this the 17th day of September, 2009.


s/S. Douglas Drinnon____________________________
S. Douglas Drinnon (B.P.R.# 018629)
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                                 CERTIFICATE OF SERVICE

        I certify that I forwarded the above-referenced document to the following persons and
entities: John Rosson, P.O. Box 2708, Knoxville, TN 37901-2708, Jon Cope, P.O. Box 2644,
Knoxville, TN 37901-2644, Robert Knolton, P.O. Box 4459, Oak Ridge, TN 37831, and C.
Patrick Sexton, P.O. Box 4187, Oneida, TN 37841, and David Jones, 67 Williamsburg St.,
Whitley City, KY. 42653, on the 17th day of September, 2009.


                                                            s/ S. Douglas Drinnon




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